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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION




ELIZABETH A. GASS , and
DEBORAH DEJONGE,

              Plaintiffs,
                                                         File No. 1:05-CV-856
v.
                                                         HON. ROBERT HOLMES BELL
MARRIOTT HOTEL SERVICES, INC.,
and ECOLAB, INC.,

              Defendants.
                                             /

                    MEMORANDUM OPINION AND ORDER
                  DENYING MOTION FOR RECONSIDERATION

       This matter comes before the Court on Plaintiffs' motion for reconsideration.

Plaintiffs contend that this Court's opinion and order granting Defendants' motion for

summary judgment (Docket #'s 71 & 72) contained a palpable defect, the correction of which

would result in a denial of the Defendants' motion. Plaintiffs dispute the Court's conclusion

that they only sustained "minimal exposure" and they contend that the Material Safety Data

Sheet for Demand CS is sufficient to create an issue of fact as to causation.

       Plaintiffs' contentions do not warrant a different result on Defendants' motion for

summary judgment. Plaintiffs contented that their chemical exposure was not minimal in

light of the fact that they entered the room while it was being sprayed, or a short time

thereafter, and they wore clothing that had been exposed to the chemicals for 14 hours during
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their travel home. Plaintiffs cite Dr. DeJonge's deposition in support of their contention that

the toxins on their clothing would sink into their bodies for the duration of their travel.

(R. DeJonge Dep. at 107, 112).          This Court has already concluded, however, that

Dr. DeJonge will not be permitted to testify as to the cause of Plaintiffs' symptoms, or to any

scientific matters other than Plaintiffs' symptoms, tests, diagnosis, and treatment. (Docket

# 71 at 10-18). Plaintiffs have no expert testimony to support this theory of exposure.

       Plaintiffs contend that the Material Safety Data Sheet for Demand CS contains

scientific evidence showing that the chemical is of a harmful nature and that it should be

sufficient to warrant a trial. Plaintiffs cite Curtis v. M&S Petroleum, Inc., 174 F.3d 661 (5th

Cir. 1999), and Martin v. American Cyanamid Co., 5 F.3d 140 (6th Cir. 1993),1 in support

of the proposition that courts have recognized the scientific reliability of Material Safety Data

Sheets with respect to "health hazards."

       Neither of the cases Plaintiffs cite in support of their motion for reconsideration

suggests that in the absence of expert testimony Material Safety Data Sheets are sufficient

to establish causation in a toxic tort case. In Curtis the Fifth Circuit held that the district

court had improperly excluded the plaintiffs' expert witness, and that when the expert's

testimony was included, the record was sufficient to raise jury issues as to liability. 174 F.3d

at 676.    Martin involved a challenge to the Occupational Safety and Health Review




       1
        The Court assumes that this is the case Plaintiffs intended to reference by their
citation to "Martin v. American Cyamid Company, F.3d 340 (1993)."

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Commission's interpretation of a Hazard Communication Standard, 5 F.3d at 141, and does

not support Plaintiffs' contention that the Material Safety Data Sheets are sufficient to present

a jury question on causation.

         Plaintiffs' burden is to show that the chemicals caused their symptoms, not merely to

show that the chemicals were hazardous. Plaintiffs have no expert witnesses. The Material

Safety Data Sheets are not sufficient to sustain Plaintiffs' burden of presenting scientific

evidence of what a toxic level of exposure might be, that they were exposed to a toxic

dosage, or that the exposure actually caused their injuries. Plaintiffs have not convinced this

Court that its earlier opinion contained any palpable defects that would warrant a different

disposition of Defendants' motion for summary judgment. Accordingly,

         IT IS HEREBY ORDERED that Plaintiffs' motion for reconsideration (Docket # 74)

is DENIED.




Dated:       May 23, 2007                   /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            CHIEF UNITED STATES DISTRICT JUDGE




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